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                   IN THE UNITED STATES DISTRICT COURT
                      fOR THE DISTRCIT OF NEW JERSEY



 GERARD AND PATRICIA
 GIORDANO,
                                      Case No.:    2:17—cv—13461—JMV—Mf
       Plaintiffs,

             vs.
                                      NOTICE OF DISMISSAl1 WITHOUT
 OCWEN LOAN SERVICING, LLC,           PREJUDICE PURSUANT TO RULE
 SAXON LOAN SERVICING, INC.,          41(a) (1) (A) fi)
 DEUTSCHE BANK NATIONAL TRUST
 COMPANY, AS TRUSTEE FOR
 NOVASTAR MORTGAGE FUNDING
 TRUST, SERIES 2006—6,PHELAN
 HALLINAN DIAMOND & JONES,
 PC, JOHN DOES I-X,

       Defendants.


      Plaintiffs GERARD GIORDANO and PATRICIA GIORDANO

(collectively,     “Plaintiffs”)   hereby give notice of their

voluntary dismissal without prejudice of all             Defendants,   Ocwen

Loan Servicing,     LLC,   Saxon Mortgage Services,       Inc.,   incorrectly

sued as    Saxon Loan Servicing,    Inc.,     Deutsche Bank National Trust

Company,    as Trustee for Novastar Mortgage Funding Trust,            Series

2006-6,    Phelan Hallinan Diamond & Jones,        PC,   John Does I—X,

(herein “Defendants”),       pursuant to Rule 41(a) (1) (A) (i)      of the



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Federal Rules of Civil Procedure as Defendants have not filed an

Answer or motion for summary judgment as of this time.




Dated:   January 12,   2018                   DENBEAUX & DENBEAUX


                                              /s/ Joshua W. Denbeaux
                                              Joshua N. Denbeaux, Esq.
                                              Attorney for Gerard Giordano
                                              and Patricia Giordano




                    Judge John Michael Vazquez, U.S.D.   .   Da
                                                                  j




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